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                                                                                 FILED
                       UNITED STATES DISTRICT COURT                                 zutJV   t6 2019 l-
                    FOR THE NORTHER DISTRICT OF ILLINOIS
                              EASTERN DIVISION                                    IHOMAS G" BRUTON
                                                                              CIERK, U.S. DISTRICT COURT
MICHAEL ECHOLS
                                                                                   lf(}v 0 6   2019
              PLAINTIFF,                         civilActionNo. t7-cv-0778,

                                                 Hon. Harry D. Leinenweber

DENNIS A. BREBNER d/b/a                          Magistrate Judge David Weisman
DENNIS A. BREBNER & ASSOCIATES
           DEFENDANTS.

                                 NOTICE OF CITATION

       On November 19,2019 at9:30 am in Room 1941 of the Dirksen Federal Building, 219
South Dearborn Street, Chicago, IL 60604, or as soon thereafter I shall appear before the
Honorable Judge Leinenweber and there present PLAINTIFF'S CITATION TO DISCOVER
ASSETS.

                                                 Re   spectfully Submitted,

                                                 lslCeletha-C. Chatman
                                                 Celetha Chatman




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